            Case 2:19-cv-00263-JTR                  ECF No. 22        filed 09/18/20       PageID.930 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                            FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                                  for the_                             EASTERN DISTRICT OF WASHINGTON
                                                     Eastern District of Washington
                         CHARLES T.,                                                                    Sep 18, 2020
                                                                                                              SEAN F. MCAVOY, CLERK
                                                                     )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:19-CV-0263-JTR
                                                                     )
              ANDREW M. SAUL,                                        )
       COMMISSIONER OF SOCIAL SECURITY,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Defendant’s Motion for Summary Judgment is GRANTED. Plaintiff’s Motion for Summary Judgment is DENIED.
’
              Judgment is entered for Defendant.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                         John T. Rodgers                          on cross-motions for summary judgement.




Date: September 18, 2020                                                   CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Courtney Piazza
                                                                                          (By) Deputy Clerk

                                                                            Courtney Piazza
